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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     VICTORIA DIVISION

    In re:                                               )
                                                         )
    INFOW, LLC, et al.,                                  )    Case No. 22 - 60020
                                                         )
                 Debtors.1                               )    Chapter 11 (Subchapter V)
                                                         )
                                                         )    Jointly Administered

                                     WITNESS AND EXHIBIT LIST
                                      [Related to ECF Nos. 6 and 7]

    Judge:                     Christopher M. Lopez
    Parties Name:              InfoW, LLC; IWHealth, LLC and Prison Planet TV, LLC
    Attorney’s Name:           Kyung S. Lee; R.J. Shannon
    Attorney’s Telephone:      713-715-1660
    Nature of Proceeding:      Debtors’ Emergency Motion for Order Authorizing Appointment of
                               Russell F. Nelms and Richard S. Schmidt as Trustees of the 2022
                               Litigation Settlement Trust and Granting Related Relief [ECF No. 6]

                               and

                               Debtors’ Emergency Application for Interim and Final Orders (A)
                               Authorizing Employment of W. Marc Schwartz as Chief
                               Restructuring Officer, (B) Authorizing Employment of Staff of
                               Schwartz Associates, LLC in Discharge of Duties as Chief
                               Restructuring Officer, and (C) Granting Related Relief [ECF No. 7]

             InfoW, LLC (“InfoW”), IWHealth, LLC (“IW Health”), and Prison Planet TV, LLC

(“Prison Planet TV”, and together with InfoW and IW Health, the “Debtors”), the debtors and

debtors-in-possession in the above-captioned chapter 11 cases, by and through counsel of record,

hereby submits this Witness and Exhibit List (the “Witness and Exhibit List”) in connection with

the hearing scheduled for Friday, April 22, 2022 at 9:00 A.M. prevailing Central Time (the


1
 The Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax identification
number are as follows: InfoW, LLC, f/k/a Infowars, LLC (6916), IWHealth, LLC f/k/a Infowars Health, LLC (no
EIN), Prison Planet TV, LLC (0005). The address for service to the Debtors is PO Box 1819, Houston, TX 77251-
1819.
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 “Hearing”) on the Debtors’ Emergency Motion for Order Authorizing Appointment of Russell F.

 Nelms and Richard S. Schmidt as Trustees of the 2022 Litigation Settlement Trust and Granting

 Related Relief [ECF No. 6] and the Debtors’ Emergency Application for Interim and Final Orders

 (A) Authorizing Employment of W. Marc Schwartz as Chief Restructuring Officer, (B) Authorizing

 Employment of Staff of Schwartz Associates, LLC in Discharge of Duties as Chief Restructuring

 Officer, and (C) Granting Related Relief [ECF No. 7].

                                                   WITNESSES

           The Debtors may call any of the following witnesses at the Hearing, whether in person,

 video or by proffer:

           1. Marc Schwartz;
           2. Richard S. Schmidt;
           3. Russell M. Nelms;
           4. Any witness(es) called or designated by another party; and
           5.   Any witness(es) necessary to rebut the testimony of any witness(es) called or
                designated by any other party.

                                                    EXHIBITS2

           The Debtors may offer for admission into evidence any of the following exhibits at the

 trial:


                                                                                            Admitted/
Ex.                      Description                           Offered     Objection          Not            Disposition
                                                                                            Admitted

 1.       Debtors’ Emergency Motion for Order
          Authorizing Appointment of Russell F.
          Nelms and Richard S. Schmidt as
          Trustees of the Litigation Settlement
          Trust and Granting Related Relief [ECF
          No. 6]

 2
   Unless otherwise specified, all exhibits in this Witness and Exhibit List contain all attachments that were included
 in the filing of such document.


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                                                                             Admitted/
Ex.                  Description                      Offered   Objection      Not         Disposition
                                                                             Admitted

 2.   Curriculum Vitae of Russell M. Nelms


 3.   Curriculum Vitae of Richard S. Schmidt


 4.   Debtors’ Emergency Application for
      Interim and Final Orders (A)
      Authorizing Employment of W. Marc
      Schwartz as Chief Restructuring Officer,
      (B) Authorizing Employment of Staff of
      Schwartz & Associates, LLC in
      Discharge of Duties as Chief
      Restructuring Officer, and (C) Granting
      Related Relief [ECF No. 7]

 5.   Curriculum Vitae of W. Marc Schwartz.
      CPA/CFF, CFE

 6.   Corporate Organization Chart


        The Debtors reserve the right to supplement, amend or delete any witness and exhibit prior

 to the Hearing. The Debtors also reserve the right to use any exhibit presented by any other party

 and to ask the Court to take judicial notice of any document. Finally, the Debtors reserve the right

 to introduce exhibits previously admitted.

                           [Remainder of Page Intentionally Left Blank]




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Dated: April 21, 2022                      Respectfully Submitted,

                                           /s/Kyung S. Lee
                                           PARKINS LEE & RUBIO LLP
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                                           Proposed Counsel to the Debtors and
                                           Debtors in Possession




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                                   CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was duly served by
electronic transmission to all registered ECF users appearing in the case as of the date of this filing
and to the parties listed below:

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                                           /s/R. J. Shannon
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